                                                  Case 1:22-cr-00132-EGS Document 11 Filed 01/27/21 Page 1 of 2




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                                                                   IN THE UNITED STATES DISTRICT COURT
                                         2                                        FOR THE
                                                                           DISTRICT OF COLUMBIA
                                         3
                                         4   United States of America,                      Criminal No. 21-mj-14
                                         5            Plaintiff,
                                                                                                 SUPPLEMENTAL NOTICE OF
                                         6   v.                                                       DECLARATION
                                         7
                                         8   ANTHIME J. GIONET,
                                         9            Defendant.
                                        10
                                        11                                         INTRODUCTION
3636 NORTH CENTRAL AVENUE, SUITE 1000
      PHOENIX, ARIZONA 85012-1927




                                        12         On January 25, 2021, this Court requested a supplemental motion or notice clarifying
        M AYEST ELLES PLLC




                                        13 whether undersigned counsel has or has not been disciplined by any bar.
                                        14                                          DECLARATION
                                        15         I declare under penalty of perjury:
                                        16         (1) That I have never been disciplined by any bar at any time ever.
                                        17
                                                   DATED this 27th day of January 2021.
                                        18
                                        19
                                                                                         MAYESTELLES PLLC
                                        20
                                        21
                                        22                                               By:__/s/Zachary Thornley________
                                                                                         Arizona State Bar No: 032363
                                        23                                               MayesTelles, PLLC.
                                        24                                               3636 N Central Ave
                                                                                         STE. 1000
                                        25                                               Phoenix, AZ. 85012
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                                             Case 1:22-cr-00132-EGS Document 11 Filed 01/27/21 Page 2 of 2




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                                              cc: Elizabeth Aloi
                                        2
                                              Assistant United States Attorney
                                        3     United States Attorney’s Office
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3636 NORTH CENTRAL AVENUE, SUITE 1000
      PHOENIX, ARIZONA 85012-1927




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        M AYEST ELLES PLLC




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